U.S. DISTRICT co!

DISTRICT OF vERMONY
UNITED STATES DISTRICT COURT FILED

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DISTRICT OF VERMONT
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ESTHER NGOY TEKELE BEPITY cacy
Petitioner,
Vv. Case No. 2:25-cv-637

DONALD J. TRUMP, IN HIS CAPACITY AS

PRESIDENT OF THE UNITED STATES;

PATRICIA HYDE, IN HER OFFICIAL CAPACITY AS
ACTING BOSTON FIELD OFFICE DIRECTOR,
IMMIGRATION AND CUSTOMS ENFORCEMENT,
ENFORCEMENT AND REMOVAL OPERATIONS;
VERMONT SUB-OFFICE DIRECTOR OF IMMIGRATION
AND CUSTOMS ENFORCEMENT, ENFORCEMENT
AND REMOVAL OPERATIONS; TODD M. LYONS,

IN HIS OFFICIAL CAPACITY AS ACTIING DIRECTOR,
U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT;
PETE R. FLORES, IN HIS OFFICIAL CAPACITY AS ACTING
COMMISSIONER FOR U.S. CUSTOMS AND BORDER
PROTECTIONS; KRISTI NOEM, IN HER OFFICIAL
CAPACITY AS SECRETARY OF THE UNITED STATES
DEPARTMENT OF HOMELAND SECURITY;

MARCO RUBIO, IN HIS OFFICIAL CAPACITY AS
SECRETARY OF STATE; AND PAMELA BIONDI, IN
HER OFFICIAL CAPACITY AS U.S. ATTORNEY
GENERAL; THERESA MESSIER, SUPERINTENDENT,
CHITTENDEN REGIONAL CORRECTIONAL FACILITY-
SOUTH BURLINGTON,

Respondents.
ORDER TO SHOW CAUSE

On July 10, 2025, Esther Ngoy Tekele filed a petition for writ of habeas corpus and
complaint for declaratory and injunctive relief with respect to her present detention in Chittenden
County, Vermont, by U.S. Immigrations and Customs Enforcement ("ICE"). Ms. Tekele contends

that upon her entry into the United States on July 6, 2025, U.S. Customs and Border Protection
("CBP") arrested her, and seized her Legal Permanent Resident card without legal grounds to do
so. Ms. Tekele remains incarcerated at the Chittenden Regional Correctional Facility. She
contends that she was served with an “inaccurate Notice to Appear,” but it was not filed in
immigration court and she is not currently in immigration removal proceedings. (Doc. 2 at 3; Doc.
1 at {23.) Ms. Tekele further alleges that she “was unable to communicate with legal counsel for
several days while in detention — a situation further exacerbated by the fact that she does not speak
English.” (Doc. 1 at § 24.) Ms. Tekele asserts the basis of her continued detention is entirely
unknown and alleges she was arrested and is being detained in violation of the Fourth and
Fourteenth Amendments to the United States Constitution.

Pursuant to 28 U.S.C. 2243, a court "entertaining an application for a writ of habeas corpus
shall forthwith award the writ or issue an order directing the respondent to show cause why the
writ should not be granted, unless it appears from the application that the applicant or person
detained is not entitled thereto."

Respondents Theresa Messier, Donald J. Trump, Patricia Hyde, Vermont Sub-Office
Director of Immigration and Customs Enforcement, Enforcement and Removal Operations, Todd
M. Lyons, Pete R. Flores, Kristi Noem, Marco Rubio, and Pamela Bondi are hereby ORDERED
TO SHOW CAUSE, on or before July 15, 2025, why a writ of habeas corpus should not be granted.
The Petitioner may file a reply on or before July 16, 2025. The court will hold a hearing on July
17, 2025 at 1:00 p.m.

SO ORDERED.

DATED at Rutland, in the District of Vermont, this 11" day of July 2025.

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Mary KayLar{th t thier
United States District Court Judge

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